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:N THE UNITED STATES D:STRICT COURT 459 '
FOR THE WESTERN DISTRICT OF TENNESSEE€ `
EASTERN DIvIsION Q<,`§i,: ,»
FZ’/

/§‘/.

 

UNITED STATES OF AMERICA

vs. Criminal NO. l:OE-CR-lOOlZ-Ol-T

JAME S CURTI S BAKER

ORDER CONTINUING TRIAL DATE AND SPECIFYING DELAY
EXCLUDABLE UNDER SPEEDY TRIAL ACT

Upon motion of Counsel for defendant the trial date of
August 4, 2005, is continued to allow counsel for the government
and defendant additional time in Which to prepare. The ends of
justice served by taking such action outweigh the best interest of
the public and the defendant in a speedy trial.

The Clerk shall re-set the REPORT DATE/MOTION HEARING for
TUESDA'.{c AUGUST 3‘.'1.\l 2005 at 9:00 A.M. and reset TRIAL DATE for
MONDAY, SEPTEMBER 19, 2005 at 9:30 A.M. The Court finds that the
grounds for this continuance justified excluding the period of
August 20, 2005, to September 19, 2005, as excludable delay under

Title 18 U.S.C §3l6l(h)(8)(B)(iv) and(h)(B)(A).

J{)Z/VM g M

D. TODD
UN AM'_I‘ED STATES DISTRICT JUDGE

DATE: Cr/QMg/AA/X’ %‘Yf/

I'I‘ IS SO ORDERED.

This document entered on the docket sheet ln compliance
with Rule 55 and!or 32(b) FRCrP on

 

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This notice confirms a copy of the document docketed as number 22 in
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August 5, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

